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                                                    EXHIBIT G 1 of 2




                         IN THE UNITED STATES DISTRICT CO RT
                        FOR THE EASTERN DISTRICT OF ARKANSAS
                                    DELTA DIVISION

  STATE OF KANSAS,                               §
  ETAL.                                          §
                                                 §
          Plaintiffs,                            §
                                                 §
  v.                                             §
                                                 §
  MERRICK GARLAND,                               § Civil Action No. 2:24-cv-88
  ET. AL                                         §
                                                 §
          Defe dants.                            §
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                          DECLARAT ON OF JOSEPH E. MAYER

I, Joseph E. Mayer, declare s follows

   1. I am a Lead Policy Analyst t the Virginia Depart ent of Taxation. I am over the age of

       18, and I have personal knowledge of the facts contai ed in this declaratio . I could

       competently testity as to the contents of this Declaration if called upon to do so.

   2. I have served as a Le d Policy Analyst at the Virginia Department of Taxation for 17

       years.


   3. Prior to this, I served as a Senior Policy Analyst at the Virginia Department of Taxation

       for 5 years.
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   4. As a result of my current duties, I am fa iliar with Virginia s tax code and how it relates

       to the sale of firearms online and at gun shows.

   5. Under Va. Code §§ 58.1-603 and 58.1-604, Virginia taxes the sale of firearms at gun

       shows by persons or businesses that regularly engage in the business of selling firearms.

   6. Under Va. Code §§ 58.1 -603 and 58.1 -604, Virginia taxes the online sale of firearms that

       occur where the buyer is a resident of Virginia.

   7. If there is a decrease in firearm sales at gun shows or online there will naturally be a

       decrease in state tax revenue.

   8. B sed on the infonnation available the Final Rule in this case is expected to decrease the

       sale of unlicensed firear s dealers by 10%. 89 Fed. Reg. 29054.

   9. If that were the case, it is likely that Virginia would see a decrease in sales tax revenue.

   10. Further the declarant sayeth naught.

I declare under penalty of perjury under the laws of the United States of America and the

Com onwealth of Virginia that the foregoing is true and correct.




Executed in the City of Richmond, Virginia this 6th day of M y 2024.




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